         Case 2:16-cv-02068-WB Document 44 Filed 01/30/17 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MATTHEW ZINMAN,                                          CIVIL ACTION
             Plaintiff,

              v.

VANTAGE LEARNING, LLC,                                   NO. 16-2068
VANTANGE LEARNING (USA), LLC,
MCCAN ASSOCIATES, INC., BRIAN
GIBNEY AND PETER MURPHY,
               Defendants.


                                        ORDER

       AND NOW, this 30th day of January, 2017, upon consideration of Plaintiff’s Motion to

Dismiss Defendants’ Counterclaims and to Strike Scandalous Allegations (ECF No. 34) and

Defendant McCann’s Response in Opposition thereto (ECF No. 35), IT IS HEREBY

ORDERED that:

   1) Plaintiff’s Motion to Dismiss McCann’s Counterclaims is GRANTED with respect to the
      unjust enrichment counterclaim and DENIED with respect to the fraud and breach of
      contract counterclaims;

   2) Plaintiff’s Motion to Strike Scandalous Allegations is GRANTED in part and DENIED
      in part as follows:

          a. The Motion is GRANTED with respect to Exhibits D to T (ECF Nos. 31-4, 31-5,
             31-6, 31-7, 31-8, 31-9, 31-10, 31-11, 31-12, 31-13, 31-14, 31-15, 31-16, 31-17,
             31-18, 31-19, and 31-20); and

          b. The Motion is DENIED with respect to Exhibits A to C (ECF Nos. 31-1, 31-2,
             and 31-3).


                                                 BY THE COURT:

                                                  /S/WENDY BEETLESTONE, J.

                                                 _______________________________
                                                 WENDY BEETLESTONE, J.
